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TRINA A. HIGGINS, United States Attorney (#7349)
CAROL A. DAIN, Assistant United States Attorney (#10065)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682

                      IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                      Case No. 2:22-mj-00905 DBP

        Plaintiff,                               COMPLAINT

        vs.

  AARON MICHAEL ZEMAN; also                      Judge Dustin B. Pead
  known as, TADASHI KURA KOJIMA,

        Defendant.


      Before the Honorable Dustin B. Pead, United States Magistrate Judge for the

District of Utah, appeared the undersigned, who on oath deposes and says:


                                        COUNT I
                                       Kidnapping
                     (18 U.S.C. §§ 1201(a)(1), 1201(d), and 1201(g)(1))

      On or about December 26, 2022, in the District of Utah and elsewhere,

      AARON MICHAEL ZEMAN; also known as, TADASHI KURA KOJIMA,



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the defendant herein, did willfully and unlawfully kidnap, abduct, seize, confine and

carry away MINOR A, an individual who had not attained the age of 18 years, from the

State of Utah to the State of Nebraska, and held Minor A for ransom and reward and

otherwise, and used the mail and any means of facility, and instrumentality of interstate

commerce and foreign commerce in furtherance of the offence, and attempted to do so,

when AARON MICHAEL ZEMAN; also known as, TADASHI KURA KOJIMA was

over the age of 18 years and was not Minor A’s parent, grandparent, brother, sister, aunt,

uncle, and an individual having legal custody of Minor A; all in violation of 18 U.S.C.

§§ 1201(a)(l), (d), and (g)(1).

                                       COUNT II
                             Production of Child Pornography
                                  (18 U.S.C. § 2251(a))

       Beginning on a date unknown and continuing until December 26, 2022, in the

District of Utah,

       AARON MICHAEL ZEMAN; also known as, TADASHI KURA KOJIMA,

the defendant herein, did employ, use, persuade, induce, entice and coerce a minor,

MINOR A, to engage in sexually explicit conduct for the purpose of producing any visual

depiction of such conduct, knowing and having reason to know that such visual depiction

would be transported and transmitted using any means and facility of interstate and

foreign commerce and in and affecting interstate and foreign commerce; using materials



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that have been mailed, shipped, and transported in and affecting interstate and foreign

commerce by any means, including by computer; and the visual depiction was

transported and transmitted using any means and facility of interstate and foreign

commerce and in and affecting interstate and foreign commerce, and attempted to do so;

all in violation of 18 U.S.C. § 225l(a) and (e).


                                       COUNT III
                  Travel with Intent to Engage in Illicit Sexual Conduct
                                  (18 U.S.C. § 2423(b))

       Beginning on a date unknown and continuing until December 28, 2022, in the

District of Utah and elsewhere,

       AARON MICHAEL ZEMAN; also known as, TADASHI KURA KOJIMA,

the defendant herein, did travel in interstate commerce for the purpose of engaging in any

illicit sexual conduct as defined in Title 18, United States Code, Section 2423(f), with

another person, to wit: MINOR A and attempted to do so; all in violation of 18 U.S.C. §

2423(b).

                                        COUNT IV
                                  Coercion and Enticement
                                   (18 U.S.C. § 2422(b))

       Beginning on a date unknown and through December 26, 2022, in the District of

Utah and elsewhere,

       AARON MICHAEL ZEMAN; also known as, TADASHI KURA KOJIMA,


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the defendant herein, using a facility or means of interstate or foreign commerce, did

knowingly persuade, induce, entice, and coerce any individual who has not attained the

age of 18 years, to engage in any sexual activity for which any person can be charged

with a criminal offense, and attempted to do so; all in violation of 18 U.S.C. § 2422(b).

       This complaint is made on the basis of an investigation consisting of the

following:

       I, Jeffrey S. Ross, being duly sworn, hereby deposes and state as follows:

       1.     Your affiant has been employed as a Special Agent of the FBI since

February 28, 1999 and is currently assigned to the Salt Lake City Field Office’s Child

Exploitation Task Force. Your affiant has been involved in investigations related to the

sexual exploitation of children over the internet since April of 2003. Since joining the

FBI, I have investigated violations of federal law, and am currently investigating federal

violations concerning child pornography and the sexual exploitation of children. I have

gained experience through training in seminars, classes, and everyday work related to

conducting these types of investigations. I have been involved in numerous investigations

involving sex crimes against children, to include leading investigations related to the

sexual exploitation of children over the internet, writing and executing search warrants,

conducting undercover operations via the internet, interviewing victims, interviewing

suspects and conducting arrests.



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                           FACTS AND CIRCUMSTANCES


       2.     Based on my knowledge and experience, and on information received from

other individuals, including law enforcement officers, as well as their reports, as set forth

below, I have learned the following:

       3.     On November 29, 2022, the parent of Minor A (date of birth September of

2009 residing in Layton, Utah) reported to the Layton Police Department that an adult

male from Arizona using the name of “Hunter Fox” had been communicating with Minor

A via Discord, Twitter, Facetime, Roblox, and other apps. The parent reported that these

communications became sexual and involved Minor A and “Hunter Fox” exchanging

sexually explicit videos and images with one another.

       4.     On December 9, 2022, Minor A was interviewed at the Davis County

Children’s Justice Center. During that interview, Minor A disclosed exchanging sexually

explicit images with “Hunter Fox” on various apps and indicated that most of their

conversations occurred on Twitter.

       5.     Interviews conducted by law enforcement determined that sexually explicit

images of Minor A were sent to “Hunter Fox” via the Facetime, Telegram, and Twitter

apps. Your affiant knows that law enforcement attempted to further identify “Hunter

Fox” through the service of legal process on internet service providers. Your affiant also

knows that Detective Nick Nalder of the Layton Police Department was able to identify


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the Twitter account used by “Hunter Fox” during a forensic review of the digital media

belonging to Minor A. Also located during that examination were sexually explicit

images of Minor A. Your affiant also knows that on December 22, 2022, a search warrant

was served on Twitter for the contents of the account used by “Hunter Fox.”

          6.   On December 26, 2022, Minor A’s parents contacted law enforcement to

report that Minor A had gone missing from his residence in Layton, Utah. Law

enforcement responded to Minor A’s residence and learned that Minor A had been using

an Oculus virtual reality headset to maintain contact with “Hunter Fox” via Twitter

(Minor A’s parents were unaware of this device being able to do so.). Law enforcement

located a Twitter conversation on the Oculus device between “Hunter Fox” and Minor A,

wherein Hunter Fox informed Minor A that Hunter Fox had been in Utah for days and

made arrangements to take Minor A from his residence. Your affiant knows that as a

result of Minor A’s disappearance, an Amber Alert was issued.

          7.   Your affiant knows that on December 28, 2022, Minor A was located in

Grand Island, Nebraska in a vehicle with an individual who was subsequently identified

as Aaron Michael Zeman; also known as, Tadashi Kura Kojima, born April, 1996. Zeman

was taken into custody by law enforcement at that time for Kidnapping and Resisting

Arrest.




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         8.    Investigation by law enforcement has determined that “Hunter Fox” is an

online nickname used by Zeman, and that at some point, Zeman legally changed his name

to Tadashi Kura Kojima.

         9.    Your affiant knows that after Minor A was recovered, he participated in a

sexual assault examination at a hospital in Grand Island. During that examination, Minor

A disclosed that after being picked up by Zeman in Zeman’s vehicle in Utah, Zeman had

engaged in multiple incidents of illegal sexual contact with Minor A.

         10.   Based on these facts, your affiant respectfully submits that there is probable

cause to believe that AARON MICHAEL ZEMAN; also known as, TADASHI KURA

KOJIMA, has committed violations of 18 U.S.C. § 1201(a)(1), Kidnapping; 18 U.S.C. §




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2251(a) Production of Child Pornography; 18 U.S.C. § 2423(b) Travel with Intent to

Engage in Illicit Sexual Conduct; and 18 U.S.C. § 2422(b) Coercion and Enticement.

      Based on the foregoing information, your affiant respectfully requests that a

warrant of arrest be issued for AARON MICHAEL ZEMAN; also known as, TADASHI

KURA KOJIMA, for violations of 18 U.S.C. §§ 1201(a)(1), (d), and (g)(1), 2251(a),

2423(b), and 2422(b).


  /s/ Jeffrey S. Ross ________________
Jeffrey S. Ross Special Agent
Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
on this 30th day of December, 2022.




                                                Dustin B. Pead
                                                United States MagistrateJudge


APPROVED:

TRINA A. HIGGINS
United States Attorney




CAROL A. DAIN
Assistant United States Attorney


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